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|N THE UN|TED STATES DlSTR|CT COURT
FOR THE DlSTR|CT OF COLORADO

Crimina| Case No: 17-cr-119-PAB-4
UN|TED STATES OF AMERlCA,

Plaintiff,
v.

4. D|EGO MOL|NA-CHAVEZ,

Defendant.

 

PLEA AGREEMENT

 

The United States of America, by United States Attorney for the District of
Colorado Robert C. Troyer, through Assistant United States Attorney Celeste Rangel,
and defendant Diego Mo|ina-Chavez, personally and by counsel, Harvey Steinberg,
submit the following Plea Agreement, pursuant to Rule 11(c)(1)(B) of the Federal Ru|es
of Criminal Procedure and District Court of Colorado Local Rule 11.1.

lt is the intention of the parties to resolve all pending federal criminal issues,
excluding any tax issues (none are presently known to the parties), between the defendant
and the United States Attorney’s Ofiice for the District of Colorado through the resolution
of this case. Discussions in relation to this plea agreement, including any restricted
supplement to the plea agreement, were and are entered into pursuant to Fed. R. Crim.
P. 11, Fed. R. Evid. 410, and U.S.S.G. § 1B1.8. The parties understand and agree that in
the event the agreement represented herein is not accepted by the Court, is not entered
into by the defendant, or the defendant fails to meet his obligations pursuant to this plea

agreement, including any restricted supplement to the plea agreement, the government
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will proceed with the prosecution of the defendant according to iaw, which may include
obtaining superseding indictments, filing additional charges, and pursuing Titie 21 U.S.C.
§ 851 allegations, if applicabie. See Ricketts v. Adamson, 483 U.S. 1, 9-12 (1987)
(agreement void and government permitted to reinstate original charges when defendant
failed to completely fulfill his obligations pursuant to the plea agreement).

l. AGREEMENT
1. The defendant agrees to plead guilty to Count 1 of an information charging a
violation of Titie 21, United States Code, Sections 841 (a)(1), and (b)(1)(B)(viii), Distribution
and Possession with the intent to Distribute 5 grams or more of methamphetamine
(actual), a Schedule ll controlled substance. The defendant will also admit the notice of
forfeiture.
2. in consideration of this plea agreement, if the United States Attorney’s Office for
the District of Coiorado determines, in its sole discretion, that the defendant has complied
with the terms of this agreement, and once the Court indicates its acceptance of the plea
of guilty, the government, at the time of sentencing, will move to dismiss the remaining
counts of the Superseding indictment as to this defendant The government further agrees
to recommend a sentence of imprisonment between five years (the statutory mandatory
minimum) and seven years. This recommendation is not binding on the Court, and the
defendant agrees that he will not be permitted to withdraw his plea if the Court does not
follow the governments recommendation The defendant recognizes that his ultimate
sentence wiii rest solely within the discretion of the sentencing Court.
3. The defendant agrees to timely file a notice of disposition, request a change of plea
hearing date, and to withhold or withdraw any pretrial motions in this case. in return, the

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government agrees to request that the defendant receive a three-level decrease for timely
acceptance of responsibility pursuant to United States Sentencing Guideiine Section
3E1.1(b).

4. The defendant is aware that 18 U.S.C. § 3742 affords the right to appeal the
sentence, including the manner in which that sentence is determined Understanding this
and in exchange for the concessions made by the government in this agreement, the
defendant knowingly and voluntarily waives the right to appeal any matter in connection
with this prosecution, conviction, or sentence unless it meets one of the following criteria:
(1) the sentence exceeds the maximum penalty provided in the statute of conviction, (2)
the sentence exceeds the advisory guideline range that applies to a total offense level of
36; or (3) the government appeals the sentence imposed. if any of these three criteria
appiy, the defendant may appeal on any ground that is properly available in an appeal that
follows a guilty piea.

5. The defendant also knowingly and voluntarily waives the right to challenge this
prosecution, conviction or sentence in any collateral attack (inciuding, but not limited to, a
motion brought under 28 U.S.C. § 2255). This waiver provision does not prevent the
defendant from seeking relief othen/vise available in a collateral attack on any of the
following grounds: (1) the defendant should receive the benefit of an explicitly retroactive
change in the sentencing guidelines or sentencing statute; (2) the defendant was deprived
of the effective assistance of counsei, or (3) the defendant was prejudiced by prosecutorial
misconduct

6. The defendant also agrees that he shall assist the government in ali proceedings,
whether administrative orjudiciai, involving the forfeiture to the United States of all rights,

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titie, and interest, regardless of their nature or form, in aii assets, including real and
personal property, cash and other monetary instruments, wherever iocated, which the
defendant or others to his knowledge have accumulated as a result of illegal activities.
Such assistance will involve an agreement on the defendant’s part to the entry of an order
enjoining the transfer or encumbrance of assets which may be subject to forfeiture.
Additionaily, the defendant agrees to identify as being subject to forfeiture ali such assets,
and to assist in the transfer of such property to the United States by delivering to the
government upon request, all necessary and appropriate documentation with respect to
said assets, including consents to forfeiture, quit claim deeds and any and all other
documents necessary to deliver good and marketable title to said property.

7. The defendant also agrees to forfeit to the United States voluntarily and
immediately ali of his right, title and interest to all assets, and/or their substitutes which are
subject to forfeiture pursuant to Title 21, United States Code, Section 853, and ali firearms
and ammunition which are subject to forfeiture pursuant to Titie 18, United States Code,
Section 924(d)(1). Further, should any family member, associate, or acquaintance attempt
to contest any such property, the defendant agrees to provide necessary information to
the government regarding any such ciaim.

8. The defendant also knowingly and voluntarily agrees to waive any claim or
defense he may have under the Eighth Amendment to the United States Constitution,
including any claim of excessive fine or penalty with respect to forfeited assets. Finai|y,
the defendant agrees to waive any applicable time limits for the initiation of administrative
forfeiture and/or further notiHcation of any judicial or administrative forfeiture proceedings
brought against said assets, and the defendant agrees to waive any appeal for the

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forfeiture.
l|. ELEMENTS OF THE OFFENSE
9, The parties agree that the elements of the offenses to which this plea is being

tendered are as follows:

i. The defendant Diego Moiina-Chavez,
ii. knowingly and intentionally distributed and possessed with the
intent to distribute,
iii. 5 grams or more of methamphetamine (actuai).
Methamphetamine is a Schedule ii controlled substance

lll. STATUTORY PENALT|ES

10. The maximum statutory penalty for a violation of Titie 21, United States Codel
Section 841 (a)(1) and (b)(1)(B)(viii), as charged in Count One of the information is not less
than 5 years’ imprisonment; not more than 40 years, not more than a $5,000,000.00 fine,
or both such fine and imprisonment not less than 4 years’ supervised release and not
more than life; and a $100 special assessment fee. There is no restitution.

11. if supervised release is imposed, a violation of any condition of supervised release
may result in a separate prison sentence and additional supervision.

lV. COLLATERAL CONSEQUENCES

12. The conviction may cause the loss of civil rights, including but not limited to the
rights to possess flrearms, vote, hold elected officel and sit on a jury. lf the defendant is
an alien, the conviction may cause the defendant to be deported or confined indefinitely if
there is no country to which the defendant may be deported, to be denied admission to

the United States in the future, and to be denied citizenship.

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V. _S_TiPLLAT|<MF FACT§
13. The parties agree that there is a factual basis for the guilty plea that the defendant
will tender pursuant to this plea agreement That basis is set forth beiow. Because the
Court must, as part of its sentencing methodologyl compute the advisory guideline range
for the offense of conviction, consider relevant conduct, and consider the other factors set
forth in 18 U.S.C. § 3553, additional facts may be included below which are pertinent to
those considerations and computations To the extent the parties disagree about the facts
set forth beiow, the stipulation of facts identifies which facts are known to be in dispute at
the time of the execution of the plea agreement
14. The stipulation of facts herein does not preclude either party from hereafter
presenting the Court with additional facts which do not contradict facts to which the parties
have stipulated and which are relevant to the Court’s guideline computations, to other 18
U.S.C. § 3553 factors, or to the Court’s overall sentencing decision.
15. The parties agree that the date on which relevant conduct began is May 2, 2017.
16. The parties stipulate that these are the facts the government would prove at trial
beyond a reasonable doubt: On May 2, 2017, the defendant drove his co-defendant, Juan
Amaya, to a location in order to exchange four pounds of methamphetamine for a
motorcycle The defendant was to receive the motorcycle After talking for a period of
time about the deal and an upcoming trip to Las Vegas, the men gave the four pounds of
methamphetamine to an undercover agent and were arrested. The defendants vehicle
was searched pursuant to a search warrant. in the defendants vehicle was an additional
half pound of methamphetamine.
17. The parties agree that the defendants relevant offense conduct, including that

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which was reasonably foreseeable to him, is 1,829 grams of actual methamphetamine
18. Ail of the above conduct occurred in the District of Coiorado.

Vl. ADV|SORY GU|DEL|NE COMPLJTAT|QN AMJ 18 lLS.C. § 3553 AMLSLM§_N_I
19. The parties understand that the imposition of sentence in this matter is governed
by 18 U.S.C. § 3553. ln determining the particular sentence to be imposed, the Court is
required to consider several factors. One of those factors is the sentencing range
computed by the Court under the advisory guidelines issued by the United States
Sentencing Commission. in order to aid the Court in this regard, the parties set forth below
their estimate of the advisory guideline range called for by the United States Sentencing
Guideiines. To the extent that the parties disagree about the guideline computations, the
recitation below identifies the matters which are in dispute

a. The parties agree that pursuant to U.S.S.G. §1B1.3, providing that
relevant offense conduct includes the reasonably foreseeable conduct of
others with whom the defendant has jointly undertaken criminal conduct,
and U.S.S.G. §2D1.1(c), the base offense level is 36 as the defendant’s
conduct involved at least 1.5 kilograms but less than 4.5 kilograms of
methamphetamine (actuai).

b. No specinc offense characteristics apply.

c. Assuming the defendant timely Hied a notice of disposition and withheld
the filing of any pretrial motions in this case, the defendant should receive
a 3-ievei downward adjustment for timely acceptance of responsibility.

The resulting adjusted offense level is 33.

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d. The parties understand that the stipulation regarding criminal history of
the defendant is tentative, and that the defendant is in a better position
to know his convictions than the government The criminal history
category will be more completely and accurately determined by the
Probation Department. Nevertheiess, the parties believe the defendant
is in Criminai History Category li.

e. The advisory guideline range resulting from the offense level of 33, and
the (tentative) criminal history category of ll is 151 to 188 months.
However, in order to be as accurate as possibie, with the criminal history
category undetermined at this time, the offense level estimated above
could conceivably result in a range of 135 months (bottom of Category i)
to 293 months (top of Category Vl). The guideline range would not
exceed, in any case, the statutory maximum applicable to the count of
conviction. There is a mandatory minimum sentence of 60 months for
this offense

f. Pursuant to U.S.S.G. §5E1.2, assuming the estimated offense level
above, the fine range for this offense is $35,000.00-$5,000,000.00, plus
applicable interest and penalties.

g. Pursuant to U.S.S.G. §5D1.2, if the Court imposes a term of supervised
release, that term is at least four years but not more than life

h. There is no restitution order or conditions required by U.S.S.G. §5E1.1.

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20. The parties understand that although the Court will consider the parties’ estimate,
the Court must make its own determination of the guideline range in doing so, the Court
is not bound by the position of any party.

21. Uniess specifically prohibited as a term of the plea agreement, no estimate by the
parties regarding the guideline range precludes either party from asking the Court, within
the overall context of the guidelines, to depart from that range at sentencing if that party
believes that a departure is specifically authorized by the guidelines or that there exists an
aggravating or mitigating circumstance of a kind, or of a degree, not adequately taken into
consideration by the United States Sentencing Commission in formulating the advisory
guidelines. Similariy, and unless specifically prohibited as a term of the plea agreement,
no estimate by the parties regarding the guideline range precludes either party from asking
the Court to vary entirely from the advisory guidelines and to impose a non-guideline
sentence based on other 18 U.S.C. § 3553 factors.

22. The parties understand that the Court is free, upon consideration and proper
application of all 18 U.S.C. § 3553 factors, to impose that reasonable sentence which it
deems appropriate in the exercise of its discretion and that such sentence may be less
than that called for by the advisory guidelines (in length or form), within the advisory
guideline range, or above the advisory guideline range up to and including imprisonment
for the statutory maximum term, regardless of any computation or position of any party on

any 18 U.S.C. § 3553 factor.

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23. The plea encompasses ali readily provable relevant offense conduct as of the date
of the offer represented by the proposed plea agreement, and adequately reflects the
serious nature of the criminal activity engaged in by the defendant

24. This document including any restricted supplement states the parties’ entire
agreement There are no other promises, agreements (or "side agreements"), terms,
conditions, understandings or assurances, express or impiied. in entering this agreement
neither the government nor the defendant has reiied, or is relying, on any terms, promises,
conditions or assurances not expressly stated in this agreement, including any restricted

supplement

Respectfully submitted this § 2 day of j\_/j Q v glg , 2018, at Denver, Colorado.

ROBERT C. TROYER
United States Attorney

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Diego Moiina-Chavez U date
Assistant United States Attorney Defendant

 

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Harvey Steinberg ' date
Attorney for Diego Moiina-Chavez

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